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8                    UNITED STATES DISTRICT COURT FOR THE
9                        CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION
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12   Ruben Barriga Villalobos,                ) Case No: 8:22-cv-00977-CJC-KES
                                              )
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                                              )
                 Petitioner,                  ) ORDER
14
                                              )
                                              )
                   v.                         ) [RESPONSE TO ORDER TO SHOW
15
                                              ) CAUSE]
16
                                              )
                                              )
     U.S. Department of Homeland Security; )
17
     U.S. Citizenship and Immigration         )
                                              )
18   Services; Alejandro Mayorkas, Secretary )
19   of U.S. Department of Homeland           )
     Security, in his official capacity; Ur   )
20
                                              )
     Mendoza Jaddou, Director of U.S.         )
21   Citizenship and Immigration Services, in )
                                              )
     her official capacity; Terri Robinson,   )
22
     Director of the National Benefits Center )
23   and U.S. Citizenship and Immigration     )
                                              )
24
     Services, in her official capacity,      )
                                              )
25
                                              )
                 Respondents.                 )
26   __________________________________ )
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     Case 8:22-cv-00977-CJC-KES Document 28 Filed 09/14/22 Page 2 of 2 Page ID #:300



1     WHEREAS service of the U.S. officers or employees sued in their official capacity
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      for their failure to adjudicate the Form I-130 Petition was properly made, the Court
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4     will grant Plaintiff’s request as provided in the Response to the Order to Show
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      Cause, and allow Plaintiff the opportunity to cure the deficiency.
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7     WHEREAS, on September 8, 2022, Plaintiff properly notified the U.S. Attorney
8     General of the filing of the Complaint as required under Federal Rule of Civil
9
      Procedure 4(i), and obtained a summons from the Court for service as required by
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11    Federal Rule of Civil Procedure 4(i), the Court will grant Plaintiff’s request as
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      provided in the Response to the Order to Show Cause to allow Plaintiff to cure the
13

14    deficiency.
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16
      Dated: September 14, 2022                       _________________________
17
                                                      Hon. Cormac J. Carney
18                                                    United States District Court Judge
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                                 ORDER REPONSE TO ORDER TO SHOW CAUSE
